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                             The Shelby County, Tennessee Circuit Court




    Case Style:              JAYME BOYLE VS EVOLVE BANK AND TRUST

    Case Number:             CT-002249-14

    Type:                    SUMMONS ISSD TO MISC




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                             The Shelby County, Tennessee Circuit Court




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    Case Number:             CT-002249-14

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           §IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
             FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS


JAYME BOYLE,

      Plaintiff,

v.                            DOCKET NO: CT-002249-14
                              Division IV

EVOLVE BANK & TRUST, and
EVOLVE FINANCIAL GROUP, INC.,

      Defendants.


                        PROPOSED AMENDED COMPLAINT


      This is an action for breach of contract, for intentional infliction of emotional

distress, and for retaliatory and/or wrongful discharge, including violation of T.C.A.

§50-1-304, the Tennessee Public Protection Act.

                                     I. PARTIES

      1.     Plaintiff, Jayme Boyle, is an adult resident citizen of Shelby County,

Tennessee.

      2.     Defendant Evolve Bank & Trust is a foreign corporation organized in the

State of Arkansas and may be reached with service of process by serving its

registered agent Corporation Service Company, 2908 Poston Avenue, Nashville, TN

37203-1312.

      Defendant Evolve Financial Group, Inc., is a foreign corporation organized in

the State of Delaware, doing business in the State of Tennessee and may be reached

with service of process by serving its registered agent Corporation Service Company,

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2908 Poston Avenue, Nashville, TN 37203-1312.

                                     II. FACTS

        3.   Jayme Boyle (hereinafter “Boyle”) was hired in August 2005 to handle

alternative broker business, managed by Evolve Mortgage Services, a corporation

owned by Evolve Financial Group, Inc. Evolve Mortgage Services later became a part

of Evolve Bank & Trust, which is wholly owned by Evolve Financial Group, Inc.

(hereinafter “Evolve”). He served in that capacity until March 18, 2008, when he

resigned to take a job elsewhere. Boyle had worked in the mortgage business since

2000.

        4.   In April 2009, Boyle was contacted by Jeff Kuehn and Jim Martin, who

recruited Boyle to return to Evolve to serve as a loan originator. Boyle considered

this to be a great business opportunity, with potential for significant growth and

earnings capacity.    Boyle was initially given a contract which has since been

replaced from time to time by other contracts. Boyle is not in possession of any of

said contracts, but incorporates them by reference as if copied in words and figures.

Said contracts provided for at the very least:   establishing an employer-employee

relationship between Evolve and Boyle; defining the scope of Boyle's duties and job

title; and setting out the terms of Boyle's salary and/or commissions, bonuses and

benefits.    Boyle entered into said employment relationship in good faith, and

understood that Evolve had an implied duty of good faith and fair dealing. As stated

below, Evolve by and through its managers and officers has breached its contractual

relationship with Boyle.

        5.   Boyle accepted the initial offer to return, and began work on or about


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April 15, 2009. He was initially to work on straight commission, with a guarantee of

$5,000.00 per month for the first three months.

      6.    By early 2010, Boyle was the loan compliance manager for all Evolve

branches (about 14 or 15 at that time). He trained and “on-boarded” branches to

become Evolve entities. He was put on salary of $48,000.00 plus bonuses, based

upon his production and other duties. He was being paid off the bottom line.

      7.    Boyle soon learned the commissions, overages and bonuses at Evolve

Bank were being withheld, awarded and/or manipulated contrary to law. Boyle did

not like the situation.

      8.    Tommy Taylor, CEO of the Evolve Mortgage Division, a division of Evolve

Bank, decided upon a plan to manipulate the commissions, overages and bonuses

such as to hide the illegal payments, from regulators, namely the money being paid

on overages charged to customers, and to hide the money trail on a per transaction

basis, contrary to law.

      9.    On or about December 19, 2012, Boyle informed Brent Bousson (head of

HR) and Jason Brown (in-house legal counsel for Evolve Financial) that they needed

to straighten out how commissions, overages and bonuses were being paid, that this

situation was illegal. They took no action at that time to correct the situation. Then

on or about December 28, 2012, upper management, believed to include Tommy

Taylor, Jason Brown, Scott Stafford, Scott Lenoir and John Chandler, changed how

overages were to be paid, by taking the previous quarter's overages and paying them

over a three-month period as salary.      Said plan again was in violation of Fair

Lending laws, the Consumer Financial Protection Act of 2010 (“CFPA”) 12 U.S.C.


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§5536, and the Dodd-Frank Act, (the Wall Street Reform and Consumer Protection

Act of 2010), H.R. 4173, especially Title XIV, which amended (Reg. “Z”) (Truth in

Lending Act).    See Mortgage Reform and Anti-Predatory Lending Act, §1403

(Prohibition on Steering Incentive) from Dodd-Frank. Regulation “Z” governs how

compensation of loan originators and managers can be paid, 12 U.S.C. Part 226; 12

C.F.R. 1026.36. Said regulation was in effect by April, 2011.

      10.   Boyle again complained, this time to Jeff Kuehn, President of Evolve

Mortgage.   Kuehn did nothing.      Neither did Evolve Mortgage, Evolve Financial,

Evolve Bank & Trust or Evolve Financial Group, Inc.

      11.   During the course of the last 12 months of his employment at Evolve,

Boyle learned that Evolve was requiring branch managers to make personal

contributions of capital into Evolve's reserve account in violation of FHA and net

branch guidelines, thus violating HUD guidelines. Boyle was not such a manager

because he was assigned to the “home” office. But he became well aware that Evolve

was intentionally finding ways to thwart legal requirements, and to place the

economic burdens of expanding Evolve's mortgage business on its employees.

      12.   Within thirty (30) days of learning how Evolve had violated loan

originators' pay, and telling the management at Evolve of the illegal transactions, on

or about January 31, 2013, Boyle was demoted to a loan officer position. He was

“invited” to stay with the company. But when Boyle got back to his office, his access

to his computer had already been cut off.      Boyle accepted the demotion, in part

because he had family issues and personal problems.             The demotion was in

retaliation for his persistent refusal to remain silent about illegal activities.   Said


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demotion is a breach of contract, and a violation of the implied duty of good faith

and fair dealing.

      13.   At all relevant times Boyle had been an excellent employee of Evolve. He

was producing more volume than the average loan originator, even while he served

as manager, having other duties. In 2011, his volume of sale was approximately

Forty Million ($40,000,000.00) Dollars.

      14.   Said demotion was retaliatory, solely because Boyle had complained to

his supervisors about illegal activities and his refusal to remain silent. Boyle had

made it clear to Evolve that he would not remain silent about illegal activities. Boyle

had told Tommy Taylor repeatedly that he needed to do the right thing. But Taylor

made no changes.

      15.   By the Monday following demotion, Boyle was told he had to testify at a

deposition on behalf of Evolve regarding a lawsuit pending in the federal district

court in Memphis, Civil Action No. 12-02384. He was “prepped” by Evolve attorneys

on how to give a deposition.

      16.   Boyle gave his deposition and answered truthfully.

      17.   Thereafter he worked as a loan officer (originator) under the supervision

of Chad Irwin, Branch Manager. Boyle had recruited Irwin, and had trained Irwin in

Evolve business practices.     Reporting to Irwin was difficult, and embarrassing to

Boyle.   Boyle's loans had to be approved by Irwin, even to go to underwriting.

Tommy Taylor had been manipulating underwriting to expedite loans as he wished,

and forcing other loans to expire or become stale. The effect was devastating on

loan originators, including Boyle, and ultimately on the consumers.


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      18.   From the time that Boyle complained initially to Bousson and Brown,

and later to Kuehn, he had been working in a severe and pervasive hostile work

environment.   The demotion was demeaning and embarrassing.          Boyle had been

encountered by Kuehn, Bousson and Taylor repeatedly.        On October 3, 2012, he

was asked why he did not just work as a loan originator – they tried to talk Boyle

out of being a manager. Boyle told them he did not wish to be demoted, but after

his repeated complaints of illegal activities, he was demoted on January 31, 2013.

      19.   Throughout the fall of 2012, until his demotion in late January, 2013,

Boyle was required to discipline employees, including to terminate them. Boyle was

doing so at the express direction of Taylor. Boyle complained to Taylor and Bousson

about the lack of clear objective guidelines, such as when performance/loan volume

had shrunk to a certain level for an employee. Instead, persons were being fired

based on the subjective decisions of Taylor and Bousson.

      20.   Taylor (CEO of Evolve Mortgage Division) was not allowed by law to

originate loans.   But he would attribute loans to originators, then would receive

partial commissions in the form of bonuses. This practice was illegal under Dodd-

Frank. Taylor knew better. It was no secret at Evolve that Taylor was originating

loans and being paid as a result.

      21.   Evolve provided no continuing education for its loan originators.        By

2010, the regulations governing mortgages in general, especially government-backed

loans, were changing. There were several different Acts which directly impacted the

mortgage banking business, and especially loan originating.      Plaintiff alleges that

failure to keep its loan originators informed and adequately trained allowed Evolve to


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persist in violating said laws, which were intended to provide fair lending practices

to American consumers, for truth in lending, and for prohibiting unfair payment

practices for loan originators and managers. Regulation “Z” of the Truth in Lending

Act came into effect as of April, 2011. The Dodd-Frank Act, H.R. 4173, a mammoth

revision of many laws, including SEC (Wall Street Reform) and consumer lending,

included Title XIV, entitled “the Mortgage Reform and Anti-Predatory Lending Act,”

of which Section 1403 dealt with “Prohibition on Steering Incentives” was enacted.

The Home Mortgage Disclosure Act (“HMDA”), which seeks to protect unfair and

discriminatory practices based on race, sex, and marital status, etc., and which

require record-keeping and reporting to the government agency, even as to

conventional loans not backed by the government impacted Evolve and its

originators.

      22.      Before the recent mortgage crisis, loan originators often steered their

“clients” (consumers) into mortgages with terms that were less favorable to the

consumer but more profitable for the loan originator.        To stop this practice, the

Federal Reserve Board amended Regulation Z, 12 U.S.C. Part 226, to prohibit

certain compensation schemes for loan originators.       Its implementation date was

April 6, 2011. See 12 C.F.R. §1026.36 (a)(l)(i). A violation of the compensation rule

under Regulation Z is a violation of Section 1036 of the Consumer Financial

Protection Act of 2010 (“CFPA”), 12 U.S.C. §5536(a)(1)(A).

      23.      It is a violation of Regulation Z and thus the CFPA for a mortgage

company to pay its loan officers guarterly bonuses in amounts based on terms or

conditions of the loans they close, or to otherwise incentivize loan officers to steer


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consumers into mortgages with less favorable terms; these practices are prohibited

by the “Compensation Rule” under Regulation Z.

      24.    The various statutes and regulations relied on by Plaintiff cited herein,

evidence a clear public policy which is unambiguous, and intended to protect the

public, i.e. consumers, from predatory mortgage practices such as steering of

mortgages.    The importance of these Acts (including Dodd-Frank Act, Truth in

Lending Act, the Home Mortgage Disclosure Act (HMDA) and the Mortgage Reform

and Anti-Predatory Lending Act) cannot be overstated. The stated purpose was to

prevent further collapse of the American financial system, which had been

devastated by the 2009-2010 economic collapse attributed to the mortgage industry

and its abuses.

      25.    Evolve directed Boyle to originate some Twenty Million Dollars in loans,

but Boyle was paid only a partial commission on these loans. On some he received

nothing.    The monies which should have been paid to Boyle were given to the

branches. At the time the branches were not yet able legally to originate loans. This

practice was planned and developed by Taylor, and Jason Brown, who well knew

that Boyle was supposed to be paid not less than 1% of all loans on which he served

as originator. Said miss-payment was intentional and was a breach of contract.

      26.    By the time of Boyle's demotion, other employees avoided any contact

with him. It was like he had a target on his back. Brent Bousson, head of Human

Relations, told Boyle he was being demoted because he “made too much money.”

Bousson was insulting to Boyle, as were Taylor and Brown. The hostile environment

was intensifying.


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      27.   At the same time Taylor started promising Boyle that he was

purportedly going to make him manager, but needed Boyle's help to get rid of Jeff

Kuehn. Boyle knew he was being manipulated, but did not yet understand why.

      28.   Throughout the winter and spring of 2012-2013, Boyle was feeling

increasingly threatened. He understood that Evolve could and would blemish his

reputation, which would make it difficult for him to get a good job in the mortgage

industry.   Despite the actions taken by management against him, Boyle kept

complaining about the illegal activities.

      29.   The actions taken by Taylor, Bousson, Stafford, Lenoir, Brown,

Chandler, and others thus were continuing over a long period of time, and on a daily

basis. Their actions were intentional and malicious, sufficient to cause a reasonable

person to exclaim outrage. Boyle had stayed in the pressure cooker at the offices of

Evolve for well over three years, enduring numerous acts of harassment, overt and

some not so overt.       The effects of the stress and harassment on Boyle are

tremendous.    He has trouble sleeping at night.    He has suffered a recurrence of

severe sleep apnea. He found himself gaining weight. He now suffers from grinding

of teeth, which has been diagnosed as “TMJ” (tempero mandibular joint syndrome).

Food became his source of solace.       He now suffers from gastric reflux.   He has

stayed upset, and angry. He feels he has lost control over his life and his career,

and his financial security has evaporated. The acts taken against Boyle were not

minor trivialities or annoyances. The emotional and physical changes to Boyle have

been devastating and profound. His very life was threatened. His ability to support

his family was totally at risk.


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       30.   Pressure was building for Boyle. On the morning of May 21, 2013, he

learned that the previous day Evolve and the plaintiff's attorney in the Memphis case

had deposed Virginia Green, former head of Evolve Mortgage, and that a lot of the

questions were about Jayme Boyle and his plans for future employment. Boyle felt

exposed and betrayed. He resigned that night.

       31.   Evolve knew of the hostile environment being experienced by Boyle and

failed to take steps to stop it. Evolve knew that Boyle was refusing to remain silent

about illegal violations of statutes and regulations governing the mortgage industry.

Evolve knowingly permitted the difficult or unpleasant working conditions to exist.

Said conditions became so intolerable to Boyle that a reasonable person subject to

such conditions would resign.

       32.   Based on the intolerable working conditions, based upon his knowledge

of the mortgage industry, and based upon his growing knowledge of Evolve's shady

business practices, Boyle reasonably decided he had no choice but to resign. His

resignation was not voluntary, it was exclusively and solely due to his failure to

remain silent about the continuing and overt violations of federal laws governing the

mortgage business, especially steering of mortgages, illegal bonusing to managers

and loan originators, and manipulating minimum reserves by branch managers by

unwarranted salary increases. He could take no more. The working conditions were

utterly intolerable. He resigned by email, sent to Evolve on May 21, 2013 at 1:00

a.m.

       33.   Thus Jayme Boyle, an employee of Evolve, was forced to resign solely on

account of his unwillingness to remain silent about the illegal practices and policies


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at Evolve which violated the Consumer Protection Act, the Home Disclosure

Mortgage Act, especially HMDA, Regulation Z, and the Dodd-Frank Act, as set forth

herein.     Said Acts evidence a strong public policy intended to protect American

consumers from avaricious lending practices, including steering of loans and

improper bonuses and overages, as in the instant case.

      34.     Boyle has sustained significant wage losses due to said constructive

discharge, including loss of commissions, loss of stock options, salary, benefits and

overtime; also due to the breach of contract. He has incurred physical pain and

suffering, emotional pain and suffering and other injuries, including damage to his

reputation.

      35.     The acts and omissions of Evolve's principals and agents have been

malicious, knowing and intentional.         Hence an award of punitive damages is

merited.

                                III. CAUSES OF ACTION

      36.     Plaintiff incorporates paragraphs 1 through 35 as if set forth fully

herein.

      37.     Based on the foregoing, Plaintiff states a claim for:

              (a)   Breach of employment contract;

              (b)   Intentional infliction of emotional distress;

              (c)   Retaliatory or wrongful discharge, in violation of T.C.A. §50-1-304,
                    which prohibits discharge or termination solely for refusing to
                    participate in, or for refusing to remain silent about, illegal
                    activities; and

              (d)   retaliatory discharge: common-law cause of action.



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                               IV. PRAYER FOR RELIEF

      Plaintiff hereby demands relief as follows:

      1.    Issue process as prayed for;

      2.    Judgment     for   compensatory     damages   including   loss   of   wages,

commissions, and other monetary damages and for physical and emotional pain and

suffering post, present and future in the sum of $2.5 Million Dollars;

      3.    Punitive damages in the sum of $2.5 Million Dollars;

      4.    Jury demanded; and

      5.    Other relief as may be deemed appropriate.

                                     Respectfully submitted,

                                     KATHLEEN CALDWELL, PLLC



                                By:_________________________________________
                                      Kathleen L. Caldwell, #9916
                                      2670 Union Avenue Ext., Site 110
                                      Memphis, TN 38112
                                      Telephone: (901) 458-4035
                                      Facsimile: (901) 458-4037
                                      kathleencaldwell.attorney@gmail.com
                                      Attorney for Plaintiff




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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been
electronically filed and served electronically to the following:

           Robert L. Crawford, Esq.
           Odell Horton, Jr., Esq.
           Kathryn K. Van Namen, Esq.
           Wyatt Tarrant & Combs, LLP
           1715 Aaron Brenner Drive, Suite 800
           Memphis, TN 38120-4367

     This _____ day of August, 2014.

                                  _________________________________
                                  Certifying Attorney




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                                                                  185 PageID 82FILED
                                                                  2014 Aug 21 AM 11:00
                                                               CLERK OF COURT - CIRCUIT
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                                                                  2014 Sep 02 PM 4:37
                                                               CLERK OF COURT - CIRCUIT
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                                                                   185 PageID 115 FILED
                                                                    2014 Sep 05 PM 3:51
                                                                 CLERK OF COURT - CIRCUIT
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                                                                   185 PageID 129 FILED
                                                                    2014 Sep 16 PM 2:29
                                                                 CLERK OF COURT - CIRCUIT
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                             The Shelby County, Tennessee Circuit Court




    Case Style:              JAYME BOYLE VS EVOLVE BANK AND TRUST

    Case Number:             CT-002249-14

    Type:                    SUBPOENA ISSD TO MISC




                                                  Ms Sheri C Carter, DC




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                                                                 CLERK OF COURT - CIRCUIT
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                                                                    2014 Sep 18 AM 10:31
                                                                 CLERK OF COURT - CIRCUIT
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                                                                   185 PageID 162 FILED
                                                                    2014 Oct 02 AM 10:48
                                                                 CLERK OF COURT - CIRCUIT
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                                                                   185 PageID 171 FILED
                                                                    2015 Jan 07 PM 2:34
                                                                 CLERK OF COURT - CIRCUIT
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                                                                 CLERK OF COURT - CIRCUIT
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